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   IT IS ORDERED as set forth below:



    Date: January 21, 2021
                                                        _________________________________

                                                                   Sage M. Sigler
                                                            U.S. Bankruptcy Court Judge

  ________________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                             )      CHAPTER 7
                                                   )
ROGER CARROLL BURGESS                              )      CASE NO. 17-64941-SMS
                                                   )
               DEBTOR.                             )

                              ORDER REOPENING CASE
         This matter arises on the United States Trustee’s Motion to Reopen (Dkt. No. 41)

 (the “Motion”). Good cause appears for granting the Motion. Accordingly, it is hereby

         ORDERED that the Motion is granted and this case is reopened.

         The United States Trustee is directed to appoint a trustee to serve in this case.

                                      [END OF DOCUMENT]

Prepared by:
s/ Shawna Staton
Shawna Staton
Georgia Bar No. 640220
Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, S.W.
Atlanta, Georgia 30303
(404) 331-4437
shawna.p.staton@usdoj.gov
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Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, S.W.
Atlanta, Georgia 30303

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Wendy C. Elsey
Matthews & Associates
2905 Sackett Street
Houston, Texas 77098

Roger Carroll Burgess
2612 Leeland Dr.
Augusta, GA 30309

Roger Carroll Burgess
1601 Sugar Plum Drive SW
Conyers, GA 30094
